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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA

                         CASE NO.: _______________

 UNITED STATES FIRE INSURANCE
 COMPANY,

      Plaintiff,

 v.


 C&D INSURANCE & BONDS, INC.,

      Defendant.
 _______________________________/

                                  COMPLAINT

      Plaintiff, UNITED STATES FIRE INSURANCE COMPANY (“U.S. Fire”),

by and through undersigned counsel, files this Complaint against Defendant, C&D

INSURANCE & BONDS, INC. (“C&D”), and alleges as follows:

                               INTRODUCTION

      1.       This action involves claims for breach of contract, negligence and

breach of fiduciary duty related to unauthorized payment and performance bonds

wrongfully issued by C&D in U.S. Fire’s name.

                                 THE PARTIES

      2.       Plaintiff U.S. Fire is a Delaware corporation with its principal place

of business in Morristown, New Jersey.
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      3.        Upon information and belief, C&D was and is incorporated under the

laws of the State of Florida and has its principal place of business in Saint Augustine,

Florida. Thus, at all times material, Defendant, C&D, is and was a citizen of Florida.

                          JURISDICTION AND VENUE

      4.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1332(a), as this action is between citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

      5.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that a

substantial part of the events or omissions giving rise to this action occurred in Saint

Augustine, Florida, which is within this district.

                                  BACKGROUND

A.      Relationship Between the Parties

      6.        U.S. Fire is an insurance company that is in the business of issuing

surety bonds.

      7.        C&D is an insurance broker that is in the business of executing and

delivering surety bonds on behalf of insurance companies.

      8.        At all relevant times, C&D was authorized to execute and issue

surety bonds on behalf of U.S. Fire on a case-by-case basis and subject to the

approval of U.S. Fire to write such bonds.



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      9.        At all relevant times, C&D effectively operated as a managing

general agent for the issuance of surety bonds authorized by U.S. Fire.

B.      The Subcontract

      10.       On or about February 5, 2019, Celtic Solutions, Inc. (“Celtic”)

entered into a subcontract with URS Group, Inc. (“URS”).

      11.       Under the Subcontract, Celtic was to perform certain work at “NSA

Panama City, Florida Building 5- PO#M233837-07” and “NSA Panama City,

Florida Building 652- PO#M23383-08” (collectively, the “Projects”).

      12.       According to the Subcontract, “[i]n the event of termination for

default…[Celtic] will be liable for all costs in excess of the Subcontract Price, excess

re-procurement costs, incurred by [URS] and Customer in completing the Work that

was to have been done by [Celtic] under this Agreement…”

C.      The Bonds and Notice of Claim

      13.       On or about December 16, 2019, C&D, as managing agent for U.S.

Fire, issued payment and performance bonds (Nos. 602-107350 and 602-107351)

for the Projects (the “Bonds”) in U.S. Fire’s name on behalf of Celtic, as principal,

and in favor of URS, as obligee.

      14.       C&D issued the Bonds without adhering to the conditions required

by U.S. Fire.

      15.       C&D issued the Bonds without the authority of U.S. Fire.

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      16.       C&D was not authorized to issue the Bonds on behalf of U.S. Fire.

      17.       On or about August 23, 2021, U.S. Fire received notice of a Letter of

Concern issued by URS to Celtic regarding Celtic’s lack of performance at the

Projects and advising Celtic of its performance obligations under the Subcontract

and consequences in the event of termination or default.

      18.       After receiving the Letter of Concern, U.S. Fire first learned that

C&D had issued the Bonds in U.S. Fire’s name.

      19.       By email dated September 1, 2021, Mr. Jeremy Toto of C&D

acknowledged that the Bonds were issued without U.S. Fire’s approval and stated

that “[t]his has been a serious mistake on my part…”

      20.       Since learning of Celtic’s payment and performance issues with

regard to the Projects in August 2021, U.S. Fire has been and continues to take all

reasonable and necessary steps to keep the Projects progressing.

                               COUNT ONE
                           BREACH OF CONTRACT

      21.       U.S. Fire hereby incorporates and re-alleges paragraphs 1 – 20 as if

fully set forth herein.

      22.       U.S. Fire and C&D entered into an agreement whereby U.S. Fire

authorized C&D to issue payment and performance Bonds on U.S. Fire’s behalf

subject to certain general conditions. A true and correct copy of the Agreement is

attached as Exhibit 1.
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        23.     C&D has breached its agreement with U.S. Fire by failing to adhere

to the agreed-upon conditions and issuing unauthorized Bonds in U.S. Fire’s name.

        24.     As a direct and proximate result of C&D’s breach, U.S. Fire has

suffered damages in an amount to be established at trial.

                                  COUNT TWO
                                  NEGLIGENCE

        25.     U.S. Fire hereby incorporates and re-alleges paragraphs 1 – 24 as if

fully set forth herein.

        26.     At all relevant times, C&D assumed a duty to possess and exercise a

standard of care ordinarily possessed and exercised by a reasonably skillful and

competent managing general agent.

        27.     A managing general agent is permitted to act on behalf of an insurer

only as authorized to do so.

        28.     C&D negligently failed to adhere to the conditions set forth by U.S.

Fire when issuing unauthorized payment and performance Bonds in U.S. Fire’s

name.

        29.     In doing so, C&D failed to perform in accordance with the applicable

standard of care.

        30.     As a direct and proximate result of C&D’s breach, U.S. Fire suffered

damages in an amount to be established at trial.


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                               COUNT THREE
                          BREACH OF FIDUCIARY DUTY

      31.       U.S. Fire hereby incorporates and re-alleges paragraphs 1 – 30 as if

fully set forth herein.

      32.       C&D acted as managing agent for the purpose of executing and

delivering surety bonds on U.S. Fire’s behalf under the conditions and terms agreed

upon by U.S. Fire and C&D

      33.       C&D owed to U.S. Fire a fiduciary duty to act in U.S. Fire’s best

interest, as opposed to their own.

      34.       As managing general agent C&D was permitted to act on behalf of

U.S. Fire only as authorized to do so.

      35.       C&D breached its fiduciary duty by failing to adhere to the

conditions set forth by U.S. Fire when issuing unauthorized payment and

performance Bonds in U.S. Fire’s name without U.S Fire’s knowledge and consent.

      36.       As a direct and proximate result of C&D’s breach of its fiduciary

duty, U.S. Fire has suffered damages in an amount to be established at trial.

      WHEREFORE, U.S. Fire respectfully requests that following relief and

judgment:

      A.     With respect to Count One, and award or judgment against Defendant

             for any and all amounts that U.S. Fire has sustained in damages as a

             result of C&D’s breach of contract, plus interest;
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     B.    With respect to Count Two, an award or judgment against Defendant

           for any and all amounts that U.S. Fire has sustained in damages as a

           result of Defendant’s negligent conduct, plus interest;

     C.    With respect to Count Three, an award of judgment against Defendant

           for any and all amounts that U.S. Fire has sustained in damages as a

           result of Defendant’s breach of its fiduciary duty, plus interest;

     D.    Awarding U.S. Fire attorneys’ fees and costs pursuant to law; and

     E.    For such other and further relief as this Court deems just, proper, and

           equitable.

DATED this 14th day of April, 2022.

                                      Respectfully submitted,

                                      /s/ Martin F. Harms
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                                 Counsel for Plaintiff
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